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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


LAFI JAFARI, an individual, and MM&L
INTERNATIONAL CORPORATION, a
Nebraska corporation;                                       8:17CV436

                   Plaintiffs,
                                                              ORDER
      vs.

HOUSING AUTHORITY OF THE CITY OF
OMAHA, a governmental subdivision of
the State of Nebraska;

                   Defendant.


      Before the Court are the Findings and Recommendation of Magistrate Judge

Michael D. Nelson, ECF No. 31, recommending that this case be remanded to the

District Court for Douglas County, Nebraska. No objections have been filed. Under 28

U.S.C. § 636(b)(1), the Court has conducted a de novo review of the record and adopts

the Findings and Recommendation in their entirety. Accordingly,

      IT IS ORDERED:

      1.     The Magistrate Judge’s Findings and Recommendation, ECF No. 31, are
             adopted in their entirety;

      2.     The Motion to Remand, ECF No. 17, filed by Plaintiffs Lafi Jafari and
             MM&L International Corporation, is granted;

      3.     The Motion to Dismiss, ECF No. 9, filed by the Housing Authority of the
             City of Omaha, is denied, as moot; and

      4.     The above-captioned case is remanded to the District Court for Douglas
             County, Nebraska.
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   Dated this 5th day of July, 2018.


                                           BY THE COURT:

                                           s/Laurie Smith Camp
                                           Chief United States District Judge




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